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   13
                                    UNITED STATES DISTRICT COURT
   14
               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   15
   16
      MEGAN SCHMITT, DEANA                              Case No. 8:17-cv-01397-JVS-JDE
   17 REILLY, CAROL ORLOWSKY, and
      STEPHANIE MILLER BRUN,                            JOINT STIPULATION TO
   18 individually and on behalf of                     MODIFY SCHEDULING ORDER
      themselves and all others similarly               AND ORDER ON JURY TRIAL
   19 situated,
                                                        The Hon. James V. Selna
   20                      Plaintiffs,                  Santa Ana, Courtroom 10C
   21           v.                                      SACC filed:      January 4, 2018
                                                        Trial Date:      February 19, 2019
   22 YOUNIQUE, LLC
   23                      Defendant.
   24
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        SMRH:487910107.1         [PROPOSED] ORDER GRANTING STIPULATION TO MODIFY SCHEDULING ORDER
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    1                                                ORDER
    2           The Court, having considered the Parties’ stipulation and, finding good cause
    3 to modify the scheduling order, hereby orders:
    4           The following dates and deadlines previously ordered by the Court on
    5 December 11, 2017 (Dkt. 56 & 56-1), December 12, 2017 (Order on Jury Trial, Dkt.
    6 57), May 29, 2018 (Dkt. 67) and September 19, 2018 (Dkt. 99) are vacated, and
    7 shall be modified as follows:
    8           a.         The hearing on Plaintiffs’ motion for class certification and
    9 Defendant’s motion for summary judgment shall be November 19, 2018 at 1:30
   10 p.m.
   11           b.         Plaintiffs’ reply in support of their motion for class certification, and
   12 Defendant’s reply in support of its motion for summary judgment, shall be filed on
   13 November 5, 2018.
   14           c.         Plaintiffs’ opposition to the motion for summary judgment, and
   15 Defendant’s opposition to the motion for class certification, shall be filed on
   16 October 22, 2018.
   17           d.         Disclosures of any rebuttal experts shall be made before midnight on
   18 October 22, 2018.
   19           Except as stated herein, all other dates and deadlines in the December 11,
   20 2017 Minute Order (Dkt. 56 & 56-1), Order re: Jury Trial (Dkt 57) shall continue to
   21 apply, and fact discovery remains closed.
   22
   23 IT IS SO ORDERED.
   24
   25 Dated: September 25, 2018
   26                                                Hon. James V. Selna
                                                     United States District Judge
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        SMRH:487910107.1         [PROPOSED] ORDER GRANTING STIPULATION TO MODIFY SCHEDULING ORDER
